Case 2:17-cv-08379-MWF-FFM Document 1-1 reg Bfh6117 ULE Mba VOOGLI

 

 

 

SUPERIOR COURT OF CALIFORNIA Raverved for Clork’s File Stamp
COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse Superior FILED California
414 North Hill Street Los Angeles, CA. 90012 99/22/20 al
PLAINTIFF(S:

Sherri R, Garter, Executive Officer / Clerk

 

 

 

Christina Burrell By: __ Victor Sino-Cruz_ Deputy
DEFENDANT(S):
Swe Group, L.P.
GASE NUMBER:
NOTICE OF CASE ASSIGNMENT - LIMITED CIVIL CASE
17STLCO2364

 

 

 

Case is assigned for all purposes to the Judicial officer indicated below. Notice given to Plaintiff / Cross-Comptainant /
Attornay of Record on 09/22/2017 .

 

ASSIGNED JUDGE DEPARTMENT ROOM

 

 

 

 

 

Elaine Lu Ti

 

 

Sherri R. Carter, Executive Officer / Clerk

By Victor Sino-Cruz , Deputy Clerk
instructions for Handling Limited Civil Cases

The following critical provisions, as applicable in the Los Angeies Superior Court are cited for your information.
PRIORITY OVER OTHER RULES: The priority of Chapter Seven of the LASC Local Rules over other inconsistent
Local Rules is set forth in Rule 7.2© thereof.

CHALLENGE TO ASSIGNED JUDGE: To the extent set forth therein, Government Code section 686 16(i)} and Local
Rule 2.5 control the timing of Code of Civil Procedure section 170.6 chailenges.

TIME STANDARDS: The time standards may be extended by the court only upon a showing of good cause.
(Cal. Rules of Court, rule 3.110.) Failure to meet time standards may result in the imposition of sanctions.
(Local Rule 3.37.)

Except for collections cases pursuant to California Rules of Court, rule 3.740, cases assigned to the Individual!
Calendar Court will be subject to processing under the following time standards:

GOMPLAINTS: Ail compiaints shall be served and the proof of service filed within 60 days after filing of the complaint.
CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after
their answer is fled. Cross-complaints against parties new to the action must be served and the proof of service filed
within 30 days after the filing of the cross-complaint. A cross-complaint against a party who has already appeared In
the action must be accompanied by proof of service of the crass-complaint at the time it Is filed. (Code Civ. Proc., §
428,50.)
DEFAULTS (Local Rule 9.10): If a responsive pleading is not setved within the time to respond and no extension of
time has been granted, the piaintiff must file a Request for Entry of Default within 10 days after the time for service has
elapsed. Failure to timely file the Request for Entry of Default may result in an Order to Show Cause being issued as
to why sanctions should not be imposed. The plaintiff must request default judgment on the defaulting defendants
within 40 days after entry of default.

: All regularly noticed motions will be calendared through the assigned department. Each motion
date must be separately reserved and filed with appropriate fees for each motion. Motions for Summary Judgment
must be identified at the time of reservations, All motions should be filed in the clerk's office.

EX PARTE MATTERS: All ex parte applications should be noticed for the courtroam.

M : Delay Reduction Rules do not apply to uninsured motorist claims. The plaintiff
must file a Notice of Designation with the Court identifying the case as an uninsured motorist claim under Insurance
Code section 11580.2.

NOTIGE OF CASE ASSIGNMENT — LIMITED CIVIL CASE
LAGIV 001 (Rev, [05/17)

LASG Approved 08-04
‘Case 2:17-cv-08379-MWF-FFM Document 1-1 Filed 11/16/17 Page 2of21 Page ID#:6

FILED

LOS ANGELES SUPERIOR COURT
MAR 0 7 2016

or EXECUTIVE OFFICER/ CLERK
4 "BY ©. CASAREZ, —
SUPERIOR COURT OF THE STATE OF CALIFORNIA

FOR THE COUNTY OF LOS ANGELES

17STLC02364

In re Limited Civil Jurisdiction Cases Calendared Case No.:
9 || in Department 77 (Non — Collections Cases)

10 GENERAL ORDER

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18 TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:

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Pursuant to the California Code of Civil Procedure, the California Rules of Court, and the
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46 Los Angeles County Superior Court Local Rules, the COURT HEREBY ISSUES THE
17 || FOLLOWING GENERAL ORDERS THAT SHALL APPLY TO ALL LIMITED CIVIL (NON-
18 || COLLECTION) CASES FILED AND/OR HEARD IN DEPARTMENT 77.

9 1, PLAINTIFF(S) IS/ARE ORDERED TO SERVE A COPY OF THIS GENERAL

ER ON THE DEFEND 5) WITH COPIES OF THE SUMMONS AND COMPLAINT

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21
29 AND TO FILE PROOF OF SERVICE, AS MANDATED IN THIS ORDER.

23 2. The Court sets the following trial date in this case in Department 77 (7"* floor,

24 || Room 736) at the Stanley Mosk Courthouse, 111 North Hill Street, Los Angeles, CA 90012:
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ERIAL: 03 7 2/2019 0$0:097 25, 2020

27 . Date: at 8:30 a.m,

 

 

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Second Amended General Order — Page 1 of 4

 

 

 
Case 2:17-cv-08379-MWF-FFM Document 1-1 Filed 11/16/17 Page 3of21 Page ID #:7

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SERVICE OF SUMMONS AND COMPLAINT

3. The trial date set forth above is conditioned on the defendant(s) being served with
the summons and complaint within six (6) months of the filing of the complaint, The trial date
may be continued to a later date if service is not accomplished within six months, The parties
may stipulate to keep the original trial date even if service of the summons and complaint is not
completed within six months of the filing of the original complaint,

4. The summons and complaint shall be served upon the defendant(s) within three
years after the complaint is filed in this action. (Code Civ, Proc., § 583.210, subd, (a).) Failure
to comply will result in dismissal, without prejudice, of the action, as to all unserved parties who
have not been dismissed as of that date. (Code Civ, Proc., § 581, subd. (b)(4).)} The dismissal as

to the unserved parties, without prejudice, for this case shall be effective on the following date:

 

UNSERVED PARTIES DISMISSAL DATE

TRL: G3/ 2 2/240

NUS 09754.

 

 

 

 

5. No Case Management Review (CMR) and no Mandatory Settlement (MSC) or
Final Status Conferences (FSC) will be conducted in this case.
LAW AND MOTION
6, All regularly noticed pretrial motions will be heard in Department 77 on
Mondays, Tuesdays, Wednesdays, and Thursdays at 8:30 a.m. A motion will be heard only ifa

party reserves a hearing date by going to the court's website at www. lacourt.org and reserving it

Second Amended General Ordar - Page 2 of 4

 

 
, Case 2:17-cv-08379-MWF-FFM Document 1-1 Filed 11/16/17 Page 4of21 Page ID#:8

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appeared in the action stipulate in writing to a specific continued date, If the stipulation is filed

 

 

through the Court Reservation System (CRS). All motions should be filed in Room 102 of the
Stanley Mosk Courthouse.

7, Tentative Rulings may be posted on the Court’s internet site no later than the day
prior to the hearing. To access tentative rulings, parties may go to lacourt.org, select “Civil”
Division, and then click on “Tentative Rulings.”

EX PARTE APPLICATIONS

8, Ex parte applications must be noticed for 1:30 p.m. in Department 77. All ex

parte application fees must be paid by 1:00 p.m. in Room 102 of the Stanley Mosk Courthouse,
JURY FEES .

9. The fees for a jury trial shall be due no later than 365 calendar days after the filing
of the initial complaint, or as otherwise provided by Code of Civil Procedure section 631,
subdivisions (b) and (c).

. STIPULATION TO CONTINUE TRIAL

10. _A trial will be postponed if all attorneys of record and/or the parties who have

less than five (5) court days before the scheduled trial date, then a courtesy copy of the
stipulation must be filed in Department 77. A proposed order shall be lodged along with the
stipulation. The Stipulation and Order should be filed in Room 118 of the Stanley Mosk
Courthouse with the required filing fees.
TRIAL

11. Parties are to appear on the trial date ready to go to trial, and must meet and
confer on all pretrial matters at least 20 calendar days before the trial date. On the day of trial
the parties shall bring with them to Department 77 all of the following:

i. A printed Joint Statement of the Case:

Second Amended General Order ~ Page 3 of 4

 
Case 2:17-cv-08379-MWF-FFM Document1-1 Filed 11/16/17 Page5of21 Page ID #:9

1 ii, Motions in Limnine, which must be served and filed in accordance with the Local

Rules of the Las Angeles Superior Court (LASC) see local rule 3.57;

&

tii, A printed Joint Witness List disclosing an offer of proof regarding each

4

5 testimony, the time expected for testimony, and the need of an interpreter,
6 iv. Joint Exhibits in Exhibit Books, numbered appropriately, and Exhibit List;
7 v. A printed Joint Proposed Jury Instructions, and

vi, A printed Joint Proposed Verdict form(s),
‘0 FAILURE TO PROVIDE ANY OF THE AFOREMENTIONED DOCUMENTS
+1 {| ON THE TRIAL DATE MAY CAUSE A DELAY IN THE CASE BEING ASSIGNED TO

12 ||A TRIAL COURT.

3 GOOD CAUSE APPEARING THEREFORE, IT IS $O ORDERED.
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tg | DATED: Hr -

17 Hon. Kevin C. Brazile f
Supervising Judge of Civil

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Second Amended Ganeral Order - Page 4 of 4

 

 

 
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GEN-16-Limited Jurisdiction Portal-PJ

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County of Lar Ameer

JUN 29 2016
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By:
lind Mi »Depaty
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

 

In re Limited Jurisdiction Civil Cases ) GENERAL ORDER RE LIMITED
Calendared in the Los Angeles County ) JURISDICTION CIVIL PROCEDURES:
Superior Court NOTICE OF WEB PORTAL
AVAILABILITY FOR INTERPRETER
) REQUESTS
(Effective July 11, 2016)
)
TO EACH PARTY:

In order to expedite the availability of interpreters at hearings on limited jurisdiction civil cases,
IT 1S HEREBY ORDERED that each limited jurisdiction civil plaintiff shall, along with the complaint
and other required documents, serve all named defendants with the Notice of the Availability of Web
Portal for Interpreter Requests; this notice informs the litigants that the Los Angeles County Superior
Court provides interpreter services in limited jurisdiction civil cases at no cost to parties with limited
English proficiency and that Spanish language interpreters are available in courtrooms where limited
jurisdiction civil hearings are held. The notice will be provided to the plaintiff at the time the limited
jurisdiction civil action is filed, if filed at the clerk’s office, and will also be posted on the Los Angeles
County Superior Court internet website (http://www.lacourt.org/). Piaintiff(s) must then indicate service
of the Notice of Availability af Web Portal for Interpreter Requests on line 2(f) of the Proof of Service
of Summons form (POS-010).

Effective immediately, this General Order is to remain in effect until otherwise ordered by the

Presiding Judge.
BNI
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TH (laa KUAL
‘wo Presiding Judge

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GENERAL ORDER — LIMITED JURISDICTION CIVIL PORTAL

 
  

DATED: june Af , 2016

 

 
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The Los Angeles Superior Court provides interprater services at no cost to parties with limited English preficiency in Limited Civil Jurisdiction
hearings. Spanish Interpreters are available at al! courthouse locations. Therefore, it is not necessary to request a Spanish language interpreter In

' advance, if you require a Spanish interpreter, please let the courtroom staff know about your need on the day of your hearing. Limited English

proficient Individuals whe speak a language other than Spanish may request an interpreter In advance of their court hearing via the Court's Web
Portal for Interpreter Requests (http://www. lacgurtore/irud/Ui/index.aspx], While the Court will make every effort to locate an interpreter for the
date and time of your hearing, It cannot guarantee that one will be Immediately available. if you have general questions about language access
services, please contact us at LanguageAccess@LACOURT.org.

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Aviso de dispontbilidad del Portal web para jurisdiccién limitada civil para sollcitar interpretes

La corte superior de Los Angeles brinda servicios de intérprete sin cargo para audiencias de jurisdiccion limitada clvil a las partes que tlenen
conocimlentos limitados de Inglés. $e dispane de Intérpretes de espaficl en todos les juzgados. Por lo tanto, no es necesario pedir un intérprete de
espanol por adelantado. SI necesita un Intérprete de espafiol, inférmela al personal de la sala del juzgado e) dia de su audiencia. Los individuos con
conocimientas limitados de inglés qué hablan un idioma que no sea ef espafiol pueden solicitar un intérprete antes de la audiencia en la corte por
medio de! Portal web de la corte para solicitar intérpretes {hitp://www.lacourt.org/Irud/UL/index.aspx]. La corte hara el mayor esfuerza posible para
programar un intérprete para la fecha y hora de su audiencia; sin ambargo, no le podemos garantizar de que haya uno disponible en fara inmediata.
Si tiene preguntas generales sobre los servicios de acceso lingiistico, envie un mensaje a LangageAccess @LACOURT. ore.

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cung cdp théng dich vién tiéng Tay San Nha tre. Néu quy vi can théng dich vién tiéng Tay Ban Nha, xin cho nhan vién phdng xt biét
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LanquagsAccess@LACOURT. org.

August S, 2046

 

 

 
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NOTICE TO DEFENDANT: Chan raab Y
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SWC GROUP, L.P.; and DOES 1-10, inclusive,
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YOU ARE BEING SUED BY PLAINTIFF: Shen
(LO ESTA DEMANDANDO El. DEMANDANTE): a Carter, Executive Oiticent teri
CHRISTINA BURRELL . Vietor Sing-Crwz, Deputy

 

 

NOTICE! You have been sued, Tha court may decide against you wilhoul your being haard unless you respond within 30 days, Read the Information
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You have 30 CALENOAR DAYS after this summons and lege! papers are served 00 you to fila » weliten response at this court ane havea copy
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Criine Sel-Help Canter (ervey courfinfo.ca.gov/selhe), yaur county law library, or the couflhovse nearast you, if you canna pay the filing foe, ask
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(haw, courtin’o, ca.geu/seifhala), or by contacting your local court of county bar agsocialion, NOTE: The cour has a statutory leq for waived fens and V
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aa formate jegal correcta af desea que procesen su caso an la corte, Fé posible oUa haya un formudads gue usled pueda User pare sy respuesta,
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(El nombre y direcoin de fe corte as): Stantey Mosk Courthouse me TT S$ Tl C 0 9

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Los Angeles, CA 90012 .

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(El nombre, 1s direceiéa y ef mimero de teldfono del abogado dol damandante, o dai demandante que no tone abogady, as):
Todd M. Friedman, 21550 Oxnard St. Suite 780 Woodland Hills, CA 91367, 877-206-474]

cate; SEP 2920 Clark, by S7OR , Deputy
$ , SHERALR. CARTER 010710) Wa SINO-CAUZ (Adjunto)

(Foca) =.
(For proof of services of thls summans, use Proot of Service of Summons (form POS-010),}
(Pere prusha de onlvega de esta cilatién use el formulasio Proof of Service of Summens, (POS-070),

memes NOTICE TO THE PERSON SERVED: You are served

REAL 1, as an individual dafandant,

: 2.1 _{ as the person sled under the fictitious name of (specify:
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4, USK] on behalf of (specify): SWC Group, L.P.

under: (] GOP 448.10 (comporation) CT) CCP 448.60 (minor)
[7] COP 4716.20 (defunct corporation) L__| CGP 446.70 (conservatea)
[3Z) SGP 446.40 {association or partnership} [7] COP 476.80 (authorized person)
C7 other (spacity):
4, [7] by parsanal deilvery on (date):
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Todd M, Friedman (216752)

Adrian R. Bacon (280332) . :

Law Offices of Todd M, Friedman, P.C. neta Gent Fuge
21550 Oxnard St, Ste 780 ART atk Los Angeles
Woodland Hills, CA 91367

Phone: 877-206-4741 SEP $2 2017

Fax: 866-633-0228 Sherri. Carter, €
tfricdman@toddflaw.com . OmiceniGierk
abacon@toddflaw.com By Victor Sino-Cruz, Deputy
Attorneys for Plaintiff

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES
LIMITED JURISDICTION

CHRISTINA BURRELL,
COMPLAINT

Plaintiff, (Amount not to exceed $10,000)

Collection Practices Act

2. Violation of Fair Debt Collection
Practices Act

3, Violation of Telephone Consumer
Protection Act

SWC GROUP, LP; and DOES 1-10,
inclusive,

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-Vg- ) 1, Violation of Rosenthal Fair Debt
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Defendant. }
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I, INTRODUCTION
1. This is an action for damages brought by an individual consumer for Defendant's
violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code §1788, ef seg,
(hereinafter “RFDCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C, §1692, ef seg.
{hereinafter “FDCPA”}, both of which prohibit dedt collectors from engaging in abusive,
deceptive, and unfair practices. Ancillary to the claims above, Plaintiff further alleges claims
for Defendant’s violations of the Telephone Consumer Protection Act., 47 U.S.C, §227, ef seg,
(hereinafter “TCPA”).
Il, PARTIES

2, Plaintiff, CHRISTINA BURRELL (“Plaintiff”), is a natural person residing in

LOS ANGELES County in the state of California, and is a “consumer” as defined by the

Complalnt ~

Case No, 17STLC02364

 

Filed 11/16/17 Page 9of21 Page ID #:13

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Gase 2:17-cv-08379-MWF-FFM Document 1-1 Filed 11/16/17 Page 10 of 21 Page

FDCPA, 15 U.S.C. $1692a(3), is a “debtor” as defined by REDCPA, Cal Civ Code §1788.2(h),
and is a “person” as defined by 47 USC. $153 (10),

3. _ At all relevant times herein, Defendant, SWC GROUP, LP. (“Defendant”) was |

a company engaged, by use of the mails and telephone, in the business of collecting a debt from
Plaintiff which qualifies as a “debt,” as defined by 15 U.S.C. §1692a(5}, and a “consumer
debt,” as defined by Cal Civ Code §1788,2(f). Defendant regularly attempts to collect debts
alleged to be due another, and therefore is a “debt collector” as defined by the FDCPA, 15
U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c). Further, Defendant uses an
“automatic telephone dialing system” as defined by the TCPA, 47 U.S.C, §227,

5. The above named Defendant, and its subsidiaries and agents, are collectively
referred to as “Defendants,” The true names and capacities of the Defendants sued herein as
DOR DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who
therefore sues such Defendants by fictitious names, Each of the Defendants designated herein
as a DOE is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of
Court to amend the Complaint to reflect the trae names and capacities of the DOE Defendants
when such identities become known.

6, Plaintiff is informed and believes that at all relevant times, each and every
Defendant was acting as an agent and/or employee of each of the other Defendants and was
acting within the course and scope of said agency and/or employment with the full knowledge
and consent of each of the other Defendants. Plaintiff is informed and believes that each of the
acts and/or omissions complained of herein was made known fo, and ratified by, each of the
other Defendants

Ill. FACTUAL ALLEGATIONS

7. At various and multiple times prior to the filing of the instant complaint,

including within the one year preceding the filing of this complaint, Defendant contacted

Plaintiff regarding an alleged debt.

Complaint - 2

 

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8, On or around April 2017, Defendant started making numerous phone calls to
Plaintiff regarding an alleged debt, and contacted Plaintiff's cell phone number ending in -
$329, Defendant has made numerous harassing calls to Plaintiff, Plaintiff had advised multiple
times for Defendant to stop making phone calls, but Defendant fails to cease the calls. The
calls averaged multiple times per day, sometimes in the early morning. Defendant called
Plaintiff from several phone numbers that were verified as numbers owned by Defendant,

9, Defendant made enough calls to be considered harassment, and thus caused high
levels of stress to Plaintiff,

10. Furthermore, during all relevant times, Defendant used an “automatic telephone
dialing system”, as defined by 47 U.S.C. ¢ 227(a}(1)}, to place its repeated collection calls to
Plaintiff seeking to collect the debt allegedly owed.

ll.  Defendant’s calis constituted calls that were not for emergency purposes as
defined by 47 U.S.C. § 227(b)(1)(A).

12.  Defendant’s calls were placed to telephone number assigned to a cellular
telephone service for which Plaintiff incur a charge for incoming calls pursuant to 47 USC,
$227(0)(1).

13. During all relevant times, Defendant did not have Plaintiffs prior consent to be
contacted via an “automated telephone dialing system”,

14,  Defendant?s conduct violated the FDCPA and the RFDCPA in multiple ways,

including but not limited to:

a) Causing a telephone to ring repeatedly or continuously to annoy Plaintiff (Cal Civ
Code § 1788.11(d)):

b} Communicating, by telephone or in person, with Plaintiff with such frequency as to
be unreasonable and to constitute an harassment to Plaintiff under the circumstances
(Cal Civ Code § 1788.1 L(e));

c} Causing Plaintiffs telephone to ring repeatedly or continuously with intent to harass,
annoy or abuse Plaintiff (§ 1692d(5));

Complaint - 3

 

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Communicating with Plaintiff at times or places which were known or should have
been known to be inconvenient for Plaintiff (§1692¢(a)(i)) and

Engaging in conduct the natural consequence of which is to harass, oppress, or
abuse Plaintiff (§ 1692d))

‘n connection with an attempt to collect an alleged debt from Plaintiff, contacting 4
third party for purposes other than obtaining location information (§ 1692b & §
16920(b))

In connection with an attempt to collect an alleged debt from Plaintiff, providing the
identity of Defendant to a third party without such information being expressly
requested (§ 1692b(1) & § 16926(b));

Disclosing to a third party the existence of the debt allegedly owed by Plaintiff (§
1692b(2) & § 16920(b))

Communicating with a single third party more than once in connection with an
attempt to collect an alleged debt from Plaintiff (§ 1692b(3) & § 16920(b));

Falsely representing the character, amount, or legal status of Plaintiffs debt (§
1692¢e(2){A));

Using false representations and deceptive practices in connection with collection of
an alleged debt from Plaintiff (§ 1692e(10);

Falsely representing or implying that nonpayment of Plaintiff's debt would result in
the seizure, garnishment, attachment, or sale of Plaintiff's property or wages, where
such action ig not lawful or Defendant did not intend to take such action (
1692e(4));

Threatening to take an action against Plaintiff that cannot be legally taken or that

was not actually intended to be taken (§ 1692e(5)),

Threatening to take an action against Plaintiff that is prohibited by § 1788 of the
California Civil Code (Cal Civ Code § 1788.10¢9);

Falscly representing that a legal proceeding has been, is about to be, or will be
instituted unless payment of a consumer debt is made (Cal Civ Code § 1788.13()),

Complaint - 4

 

 

 

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p) Threatening Plaintiff that nonpayment of Plaintiffs debt may result in the
arrest of Plaintiff or the seizure, gatnishment, attachment or sale of any
property or the garnishment or attachment of wages of Plaintiff, where such
action was not in fact contemplated by the debt collector and permitted by
the law (Cal Civ Cade § 1788.10(e)};

15.  Defendant’s conduct violated the TCPA by:

a) using any automatic telephone dialing system or an artificial or pre-
recorded voice to any telephone number assigned to a paging service,
cellular telephone service, specialized mobile radio service, or other
radio common cartier service, or any service for which the called party is
charged for the call (47 USC §227(by(A) GID).

16. As a result of the above violations of the FDCPA, RFDCPA, and TCPA,

Plaintiff suffered and continues to suffer injury to Plaintiff's feelings, personai humiliation,

embarrassment, mental anguish and emotional distress. Defendant is liable to Plaintiff for |

Plaintiff's actual damages, statutory damages, and costs anc attorney's fees.

COUNT L VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT
17. Plaintiff reincorporates by reference all of the preceding paragraphs,

18. To the extent that Defendant’s actions, counted above, violated the RFDCPA,
those actions were done knowingly and willfully.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

for the following:
A. Actual damages;
B, Statutory damages for willful and negligent violations;
C. Costs and reasonable attorney’s fees,
D. For such other and further relief as may be just and proper.

COUNT Il: VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT
19, Plaintiff reincorporates by reference all of the preceding paragraphs.

Complaint - 2

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PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant

for the following:
A. Actual damages;
B. Statutory damages;
C. Costs and reasonable attorney's fees; and,
D. for such other and further relief as may be just and proper.

COUNT ID: VIOLATION OF TELEPHONE CONSUMER. PROTECTION ACT

20, Plaintiff incorporates by reference all of the preceding paragraphs,

31. The foregoing acts and omissions of Defendant constitute numerous and
multiple negligent violations of the TCPA, including but not limited to each and every one of
the above cited provisions of 47 U.S.C. § 227 et seq.

22, As a result of Defendant’s negligent violations of 47 USC, § 227 ef seq.,
Plaintiff is entitled an award of $500.00 in statutory damages, for each and every violation,
pursuant to 47 U.S.C. § 227(B)(3)(B).

23, The foregoing acts and omissions of Defendant constitute numerous and
multiple knowing and/or willful violations of the TCPA, including but not limited to each and
every one of the above cited provisions of 47 USC. $ 227 et seq.

a4, Asaresult of Defendant's knowing and/or willful violations of 47 USC. $ 227
ef seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
violation, pursuant to 47 U.S.C. $ 227(b) (3)(B) and 47 U.S.C. ¢ 227 B)3)C).

95. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the
future,

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

A. Aga result of Defendant’s negligent violations of 47 USC. £227(b)()),
Plaintiff is entitled to and requests $500 in statutory damages, for each
and every violation, pursuant to 47 USC, 227) 3)(B);

Complaint - 6

 

 

 

 

 

 

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B. Asa result of Defendant’s willful and/or knowing violations.of 47 U.S.C. .
§227(b)(1), Plaintiff is entitled to and requests treble dammeges, as
provided by statute, up to $1,500, for each and every violation, pursuant
to 47 USC, §227(b}(3)(B) and 47 U.S.C, $227(b}(3)(C); and-

C, Any and all other relief that the Court deems just and proper.

PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY:

  
 

Respectfully submitted this 22nd day Saptember, 2017

 

By:

 

Todd M. Friedman, Esq.
Law Offices of Todd M. Friedman,’ P, C.
Attorney for Plaintiff

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Case 2:17-cv-08379-MWF-FFM Document 1-1 Filed 11/16/17 Page 16 of 21 Page ID #:20

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SHORT MLEL. isting Burrell v, SWC Group, LP,, et al.

CASE NUMBER

 

 

CIVIL CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

This form is required pursuant to Local Rule 2,3 in all new civil case filings in the Los Angeles Superior Court.

 

 

Step 1: After completing the Civil Case Cover Sheet (Judicial Council! form CM-010), find the exact case type In
Column A that corresponds to the case type indicated In the Civil Case Cover Sheet,

Step 2: In Column 8, check the box for the type of action that best describes the nature ofthe case,

Step 3: In Column, circle the aumber which explains the reason for the court filing location you have

chosen,

 

| Applicable Reasons for Choosing Court Filing Location (Column C} |

4_ Class setions must 54 filed in the Stanley Mosk Courthouse, Central Distict, 7. Locatian whare peltloner resides,

4, Permissive fillag in central district.
8, Location whare cause of action amse,
4. Mandatory personal injury fillng In North Dlstict.

&, Location whereln defandant/respondent functions wholly,
¢. Location where one or more of the partias reside,
10, Location of Labor Commissioner Office,
11, Mandatory fling Iocatlon (Hub Cases — unlawful detainer, Himited

5, Lozation whare parformance required of defendant resides. non-collection, limited collection, or personal injury).

&. Location of property or permanently garaged vehicle,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A . B . Cc.
- Civil Gase Cover Sheet ” Type of Action Applicable Reasons »
Category Ne. / (Ghack only one) * See Step 3 Above
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3 5 Damage Wrongtul assault, vandalism, etc.) 4,
S Death (23) CO A7270 Inlentloaal Indistion of Emotional Distress 114,11
CO AT220 Other Personal Injury/Property DamagefArongfd Death ‘att
LAGIV 108 (Rev 2/45) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3
LASC Approved 03-04 AND STATEMENT OF LOCATION ”- Page 1 of 4

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ce Other Real Property (28) ri Asos2 Guiet Title 2,8
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LASC Approved 08-04 AND STATEMENT OF LOCATION

Page 2 of 4

 

 

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Case 2:17-cv-08379-MWF-FFM Document 1-1 Filed 11/16/17 Page 18 of 21 Page |ID#:22
SHORT TITLE: . CASE NUMBER ‘
Christina Burrell v, SWC Group, LP, et al.
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Clvil Case Cover Sheet Type of Action Reasons - See Step 3 |
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Other Judicial Review (36) [| O A660 Other Whit dudiclaj Review 2,8 i:
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6 Construction Defect (40) | J A6007 Construction Defect 1,23
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ae M A6180 Abstract of vudgment 2,6
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LACIV 109 (Rav 2/16) CIVIL CASE COVER SHEET ADDENDUM Loca! Rule 2.3
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 3 of 4 i
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Case 2:17-cv-08379-MWF-FFM Document 1-1 Filed 11/16/17 Page 19 o0f21 Page ID#:23

 

a CASE NUMBER
SHORTTIE Christina Burrall v, SWC Group, L.P., et al.

 

 

 

 

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for tha
type of action that you have selected. Enter the address which is the basis for the filing location, including zip coce.
(No address required for class action cases),

 

. ADDRERS:
REASON: 824 Maine Ave, Apt. 4

04.92.43.04.05,0607, 080 9.016.041.

 

 

 

 

 

 

ott | STATE! ZiP CODE:
Long Beach CA 90843
Step 5: Certification of Assignment: I certify that this case is properly filed in the Central District of  {.
}

}

the Superior Court of Calffornia, County of Los Angeles [Code Civ, Proc., §392 et seq., and Local Rule Zsa l{Aey,

 

Dated: September 22, 2017

 

(SIGNATURE O7 ATTORMBYFRING PARTY}

PLEASE HAVE THE FOLLOWING [TEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1. Original Complaint or Petition.

2. If filing a Complaint, a completed Summons form for Issuance by the Clerk, t
4. Civil Case Cover Sheat, Judicial Council form GM-010.
4

Civil sare Cover Sheet Addendum and Statement of Location form, LACIV 109, LASG Aporoved 03-04 (Rey,
02/15},

Payment in full of the filing fee, unless there is court order for walver, partial or scneduied payments,

un

6, Asigned order appointing the Guardian ad Litem, Judictal Council form CiV-010, if the plalntf er petitioner ts a
minor under 18 years of age will be required by Cour in order to issue a summons.

7, Additional coples of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other Initiating pleading in the case.

 

 

 

LAGIV 109 (Rev 2/18) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2,3
LASC Approved 03-04 AND STATEMENT OF LOCATION Page 4 of 4

 

 

 
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Case 2:17-cv-08379-MWF-FFM Document 1-1 Filed 11/16/17 Page 200f 21 Page ID #:24

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ATTORNEY OR ARTY WITHOUT ATTORNEY (ene, Sole Bo oumber, and wares: FOR COURT USE ONLY
odd M, Friedman, Esq, 5B 752
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Mri py uite Ca
Woodland Hills, CA 91367 Beary aS cattonnia
revepnone no: 877-206-474] raxno: 866-633-0228
ATTORNEY FOR mane}: Plaintiff, CHRISTINA BURRELL Sep 92
SUPERIOR COURT OF ne? rey cr Los Angeles 2017
street apowESS: 11] N Et] St i ;
MANING ADDRESS! | F. Carter, Executive OficecCerk
airy anozir cove: Los Angeles 90012 Victor Sirc-Cruz, Depury
srancy nave: Stanley Mosk Courthouse
CASE NAME:
Christina Burrell v. SWC Group, L.P. st al,
CIVIL CASE COVER SHEET Complex Case Designation CASE NUMBER: ~~]
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demanded damanded Is Filed with first appearance by defendant SUBSE:
exceads $25,000) $25,000 or less) (Gal. Rules of Court, rule 3,402} DEPT:

 

 

tems 1-6 below mus! be completed (see Instructions on page 2),
1, Gheck one box below for the case type that best describes this case:

 

 

 

Auto Tort . Contract Provisionally Complex Clvil Litigation
Auto {22} ["] Breach of contractwarranty (C6) (Cal. Rules of Court, rutes 3.490-3,403}
Unlnsured motorist (46) C7] Rela 3.740 collections {09} [7] AntitrustTrade regulation (3)
Other PUPDAVD (Personal In}ury/Property [_] Other collections (09) [| Construction defect (40)
Damage/Wrangful Beata) Tort Insurance coverege (18) L__] Mass tort (40)
Asbestos (04) [7] other contract (37) L_] Securities tigation (24)
[1 Product abity (24) Real Property [__] Enviconmental/Toxls tort 139)
[| Medical malpractice (45) (] Eminent domalninverse Insurance coverage claims ar‘sing from the
[1 other PVPDAWD (23) condemnation (14) above I'sted provisionally complex case
Non-PUPDIWD (ther) Tort [7] Wrongful eviction (23) types (44)
4 Business fort/unfalr business practice (07) [7] cher reat property (26) Enforcement of Judgment
Chil rights (8) Unlawful Detalner Enforcement of Judgment (29)
C1 Defamation (135 Commercial (31) Miscellaneous Civil Complaint
[| Fraud (16) [] Restientiat (32) [_. rice 427)
[} Intellectual property (18) [J] regs (28) Other cumplaint {not specified above) (42)
L_} Protesstonat negligence (26) Judicial Review Miscellaneous Civil Patition
Other nom-PUPDAVD tort (35) = Asset ‘ortelture (05) Parinersh[p and corporate govemance (21)
Employment Petition re: arbitration award (11) [} other pettion (sot sueaiied above) (43)
Wronghil termination (36) {__] Wht of mandate (02)
[1 other employment (18} [_]_ Other judicial review (39)

 

2. Thiscase L_lis bx isnot complex under mle 3.400 of the Callfornia Rules of Gourt If the case is complex, mark the
factors requiring exceptional judicial management:

a, L_| Large number of separately represented parties d, [7] Large number of witnasses

b,C__] Extensive motion practice raising difficult or navel 8, [] Coordination with related actions fending In one or more courts
Issues that will be time-consuming to resolve In other countles, states, or countries, or in a fedaral court

ze, L_] Substantial amount of documentary evidence 4, {__] substantial postjudgment iudicial supervision

Remedies sought (check ail that epoly): a[¥] monetary ».[y] nonmonetary; declaratory or Infunetive relief [7 Tpunttive
Number of causes of actlon (specify): 3

This case [is isnot adass action suit
6. (fihera are any known related cases, file and serve a notice of related case. (You may ase form GM-078,)

Date: Septmebder 22, 2017
Todd M. Friedman

in em fa

  

{TYPE OR PRINT AME) “FORNEY FOR PARTY}
NOTICE —

« Plaintiff must file this cover sheet with the first paper fled In the actian or proceeding (except small claims cases or cases filed
under the Probate Gode, Family Gode, or Welfare and Institutlons Code), (Cal, Rules of Cour, rule 3,220.) Failure to fle may result
In sanctions,

* File this cover sheet In addition to any covar sheet required by focal court rule.

« If this case fs complex under rule 3.400 at seq. of the Califorala Rules of Court, you must serve a copy of this cover sheet on all
ather perties to the action or proceeding, ; ;

* Uniess this is a collactions case Under rulé 3.740 or a complex case, this cover sheet will be used for statistical purposes only. ,

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; Gal. Rutus ¢ Court, rules 2.30, 3.220, 3,400-3.403, 3.740!
Forme Aopiad tot Mendatncy Von CIVIL CASE COVER SHEET Sel Standards of iacion! Aatigenaton sot Oi
CM+010 (Rev, July 1, 2007) . wry contin’ oa, gay

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www Formas prions’ com

 

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Case 2:17-cv-08379-MWF-FFM Document 1-1 Filed 11/16/17 Page 210f21 Page ID#:25

INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET

CM-010

To Plaintiffs and Others Filing First Papers. {f you are fillng a first paper (for example, a complaint) in @ civil case, you must
complete and file, along with your first paper, the Ofvil Case Cover Sheet contained on page 4, This information will be used te compile
statistics about the types and numbers of cases filed, You must completa Kems 1 through 6 en the sheet, In tem 1, you must check
one box for the case type that best describes the case, if the case fits both a general and a more specific type of case Ilsted in jiem 4,
shack the more specific one, Hf ihe case has multiple causes of action, check the box that bast indicales the primary cause of action,
To assist you in completing the shes, examples of the cases that belong under each case type in item 1 are provided below, A cover
sheet must be filed only with your Initial paper, Fallure to file a caver sheet with the first paper filed in a civil case may subject a pary,

iis counsel, or both to sanctions under rules 2,30 and 3,220 of the Callfomia Rules of Court,

To Parties In Rute 3,740 Collections Gases. A "collections case" under rule 3,740 Is defined as an action for recovery af money
owed in a sum stated jo be cartaln that fs not more than $25,000, exolusive of Interest and attorney's fees, arising from a transaction In
which property, services, or money was acquired on credit, A collections case dees not Include an action saeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of reai property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identifieailon of a case as a rule 3,740 collections case on this form means that It will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading, A rule 3,740 collections

case Will ba subject to the raqulrements for service and obtalning a Judgment in rule 3,740,
To Parties In Gomplex Cases, In complex cases only, partles must alsc use the Cli! Case Cover Sheat to designate whather the °

case Is complex, If a plainiif belleves the case Is complex tnder rule 3.400 of the Callfornta Rules of Court, this must be indicated by
completing the appropriate boxes in Items 1 and 2, If a plaintiff designates a case as complex, the coves sheet must be served wilh the
complaint on all partlas fo the action, A defandent may file and serve no later than the time of its first appearance a foinder in the
plaintiff's designation, a counter-iesignation that the case !s not complex, or, If the plaintiff has made no designation, a designation that

ithe case fs complex,

Auto Tort

Auta (22)~Personal Injury/Property
DamageMrongful Ceath

Uninsured Motorist (46} (if fhe
tase involves en uninsured
motorist claim subject ta
arbitralicn, check this fem
instead of Auta)

Other PUPDIWD (Personat Injuryi
Property DamageiWrongiul Death)
Tort

Asbestos (04)

Asbestos Froperty Damage
Asbestos Personal injury/
Wrongful Death

Product Liabiity {ret asbestos or
toxievenviroamental) (24)

Madical Malpractice (45}

Medical Malpractice
Physicians & Surgeons

Other Professfonal Health Gare
Malpractice

Other PVP BAND {23}

Premises Uabllity (¢.9., slip
and fall

Intentional Bodily Injury/POMD
{e.9., assault, vandalism)

Intentional Infiction of
Emotional Cistress

Negligent Infliction of
Emoflonal Distrass

Other PUPDAVD

Non-PUPCAWD (Other) Tort
Husiness TortvUnfair Business
Practice (07}

Civil Rights (2.9., discrimination,
false arrest) (not ivif
Aarassment) {08}

Gafametion (e.g, slander, libel}

(
Fraud (16)
intelectual Property (19)
Professional Negilgence (28)
Legal Malpractice
Other Professional Malpractice

CASE TYPES AND EXAMPLES
Contract
Breach of Contract/(Warranty (06)
Breach of Rental/Lease
Contract (nai valawful defalner
or wrongful eviction)
Contract/Warranty Breach-Seller
Plaintiff (not fraud or negligence)
Negligent Breach of Contrast/
Warranty
Other Breach of ContractWarranty
Collections (e.g,. money owed, apen
book aceaunts) (09)
Collection Case-Salier Plaintiff
Other Fromissory Note/Cofections
Case
Insurance Coverage (not provisionally
complex) (18)
Auto Subrogation
Other Coverage

Other Contract (37)
Contractual Fraud
Other Contract Dispute

Raal Property

Eminent Oomain/laverse
Condemnation (14)

Wrongful Eviction (33)

Other Real Property (e.g., quiet title} (26}
Writ of Possaasion of Raat Property
Morigage Foreclosure
Quist Tile
Other Real Praperty (nef eminent
domain, landiordtenani, or
foraclosura)

Unlawful Detainer

Commercial (34)

Residanital (32}

Drugs (38) ff the esse involves Megat
dmgs, check this item? otherwise,
report as Commercial or Residenilal)

dudicial Review

Asset Forfalture (05)

Petition Ret Arbitratlon Award (41)

Writ of Mandate (02)

Writ-Administrative Mandamus
Wei-Mandamus on Limited Court

Provislonally Complex Clvil Litigation (Gal,
Rules of Court Rules 3,.400-3.403}
Aniitrust‘Trade Regulation (03)
Construction Defect (10)
Cizims Involving Mass Tort {40}
Sacurliles Litigation (28)
Bnvirenmental/Toxie Tart (39}
insurance Coverage Claims
(arising fram provisionally complex
case type fisted above} (41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of dudgment (Out of
County}

Confession of Judgment (noa-
domestic ralatians)

Sister State Judgment

Administrative Agency Award
{not unpald taxes}

Petitfon/Certlication of Entry of
Judgment on Unpald Taxes

Other Enforcement of Judamant

Miscéllanadus Civil Complalnt
RIOG (27}
Other Complaint (not specified
above) (42)
Deciaratory Rellet Onty
Iajunctive Redef Only (non~
harassmant}
Mechanics Lien
Other Commercial Camplaint
Case (non-forthon-complex)
Other Civil Complaint
(ron-fortnon-compiex}
Miscellaneous Civil Petition
Parinership and Corporate
Governance (213
Other Petition (not specified
above) (43)
Civil Harassment
Workplace Visleri¢e
EldeDependent Advit
Abuse
Election Contest
PatHion for Name Ghange

 

{nat madioal or legal} Case Matter far é
Other Non-PHPDMD Tort (38) Wal-Olher Limited Court Case Potiian fer Relief Frem Late
Empiymen Review Other Civil Petition

Wrongful Termination (@) Othar Judicial Review (39)

Other Employment (16) Raview of Health Officer Order

Notice of Appeal-Labor
Gommissioner Appeals
CIVIL CASE COVER SHEET Page 2 of2

OM-010 [Row July 1, 2007)

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